                                  No. 24-1092

             UNITED STATES COURT OF APPEALS
                  FOR THE FIRST CIRCUIT
UNITED STATES OF AMERICA; COMMONWEALTH OF MASSACHUSETTS; DISTRICT OF
  COLUMBIA; STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF NORTH
          CAROLINA; STATE OF MARYLAND; STATE OF NEW JERSEY,
                          Plaintiffs – Appellees
                                     v.
          JETBLUE AIRWAYS CORPORATION; SPIRIT AIRLINES, INC.,
                        Defendants – Appellants.

On Appeal from the United States District Court for the District of Massachusetts
         in Case No. 1:23-cv-10511-WGY, Judge William G. Young


 JETBLUE AIRWAYS CORPORATION AND SPIRIT AIRLINES, INC.’S
    MOTION TO EXPEDITE CONSIDERATION OF THE APPEAL

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   ile0930.2023.pdf. .................................................................................................. 7




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      Pursuant to Federal Rule of Appellate Procedure 2(a), Defendants-Appellants

JetBlue Airways Corporation (“JetBlue”) and Spirit Airlines, Inc. (“Spirit”)

(together, “Defendants”) respectfully move this Court to expedite this appeal, which

arises from an Order and Judgment (Dkt. No. 461) by the District Court (Young J.)

permanently enjoining Defendants from closing their merger agreement under

Section 7 of the Clayton Act, 15 U.S.C. § 18 (the “Decision”).1 See also Dkt. No.

463, Judgment dated January 17, 2024. Good cause exists to expedite this appeal

because, absent expedition, the appeal is unlikely to be decided before the July 24,

2024 outside closing date of the merger agreement between JetBlue and Spirit.

                   INTRODUCTION AND BACKGROUND

      The proposed merger involves two of the nation’s small airlines: JetBlue is

the sixth largest domestic airline with about 5% market share, and Spirit is the

seventh largest airline with about 4% market share (the “Transaction”). Decision at

19. These small airlines are dwarfed by the country’s “Big Four” carriers (Delta,

American, United, and Southwest), which collectively account for 80% of domestic

air travel. Id. at 6. In the Government’s own words, JetBlue is a “unique” competitor

that disciplines the country’s largest and most dominant airlines with its blend of


1
      While Defendants filed their notice of appeal in the District Court on January
19, 2024, this appeal was not docketed in this Court until January 29, 2024.
Defendants immediately filed this Motion to Expedite Consideration of the Appeal
on the same day the case was docketed, which was the earliest possible opportunity
for Defendants to file a document in this Court.
                                         1
high quality and low prices.2 As the District Court found, the merger would expand

JetBlue’s presence throughout the country, resulting in “more vigorous competition

with the Big Four, which carry most passengers in the country.” Id. at 102. Millions

of airline customers would benefit, whether they fly JetBlue or not, because a larger

JetBlue would “force[] other airlines to lower their fares.” Id. at 17, 101–03.

      Despite recognizing these significant consumer benefits to the vast majority

of air travelers, the District Court found the Transaction was likely to “substantially

lessen competition” under Section 7 because of harm it predicted to an unquantified

group of travelers who purportedly “must rely on Spirit.” Id. at 106 (emphasis in

original). Focusing on this narrow group of customers, the District Court improperly

required evidence other carriers would “replace Spirit’s capacity nationally” on all

Spirit’s routes, as it apparently believed Section 7 required “protect[ion]” of “every

consumer, in every relevant market from harm.” Id. In the end, the District Court

found Defendants’ evidence failed to “establish that the proposed merger would not

substantially lessen competition” in some antitrust markets, even though that burden

was squarely on the Government, and thus enjoined the Transaction. Id. at 105. The

District Court concluded the Decision with a dedication: “To those dedicated

customers of Spirit, this one’s for you.” Id. at 109.


2
       Plaintiffs’ Proposed Findings of Fact 6–8, United States v. Am. Airlines Grp.
Inc., No. 1:21-cv-11558 (D. Mass. Dec. 2, 2022), Dkt. No. 332.

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      The Decision should be reversed. It disregards the benefits of the Transaction

to the majority of the flying public, flips the burden of proof, adopts a replication-

of-Spirit standard for evaluating entry that is inconsistent with Section 7’s

substantiality requirement, and contains no findings in any particular “line of

commerce” or antitrust market, as Section 7 requires.         Unless this appeal is

expedited, this Court may have no opportunity to review the Decision, because the

merger agreement includes an outside closing date of July 24, 2024.

      There is good cause to expedite the appeal because, if the merger agreement

terminates before this Court can issue its decision, the enormous consumer benefits

the District Court recognized will result from the Transaction will be lost.

Accordingly, Defendants respectfully request that the Court expedite its

consideration of this appeal and order the following briefing deadlines.

       • Defendants’ Opening Brief               February 26, 2024 (28 days
                                                 from docketing of Appeal)

       • Government’s Answering Brief            March 27, 2024 (30 days)

       • Defendants’ Reply Brief                 April 11, 2024 (15 days)

Defendants further respectfully request that the Court schedule oral argument no

later than the May sitting to permit the appeal to be decided before July 24, 2024.

      The Government has represented that they do not oppose expedition of oral

argument following the completion of briefing, but they oppose the proposed

briefing schedule and will request 60 days to file their own brief.     The     Court
                                          3
should enter Defendants’ proposed schedule and deny the Government’s request for

an extension of time. Defendants’ proposal shortens their own deadlines and

requests only that the Government respond in the standard 30-day timeframe

provided by Federal Rule of Appellate Procedure 31(a)(1). The schedule would

therefore impose no unusual prejudice or burden on the Government and provides

this Court an opportunity to consider this appeal at the May sitting. Indeed, the

Government had approximately 38 attorneys enter appearances in the proceedings

below, so the Government plainly has enough qualified counsel who are familiar

with the trial record and the issues in this case to file their brief within the normal

timeframe. Defendants’ proposal would provide sufficient time for oral argument

in May and a decision by the outside closing date, while the Government’s proposal

would compress that time by a month. Defendants’ schedule is also consistent with

briefing schedules entered in other merger appeals, where expedition is routinely

granted. E.g., United States v. U.S. Sugar Corp.¸ No. 22-2806 (3d Cir. 2023) (73

days from trial court order to appellate reply brief; answering brief due 21 days after

opening brief); United States v. Anthem, No. 17-5024 (D.C. Cir. 2017) (40 days from

trial court order to appellate reply brief; answering brief due 28 days after opening

brief); FTC v. H.J. Heinz, No. 00-5362 (D.C. Cir. 2001) (81 days from trial court

order to appellate reply brief; answering brief due 30 days after opening brief); FTC




                                          4
v. Microsoft Activision, No. 23-15992 (9th Cir. undecided) (79 days from trial court

order to appellate reply brief; answering brief due 28 days after opening brief).




                                          5
                                JURISDICTION

      The District Court granted a permanent injunction on January 16, 2024 under

15 U.S.C. § 18 (Dkt. No. 461) and entered Judgment for the Government on January

17, 2024 (Dkt. No. 463). This Court has jurisdiction because the order under review

is final, 28 U.S.C. § 1291, and because the District Court granted an injunction, 28

U.S.C. § 1292(a)(1).




                                         6
                                   ARGUMENT

         Under Federal Rule of Appellate Procedure 2(a), the Court may expedite

proceedings for “good cause.” Fed. R. App. 2(a) (“On its own or a party’s motion,

a court of appeals may—to expedite its decision or for other good cause—suspend

any provision of these rules in a particular case and order proceedings as it

directs . . . .”). Good cause exists to expedite this proceeding. Expedition of this

appeal (i) will avoid irreparable injury by ensuring a decision is issued before the

outside closing date, (ii) is strongly in the public interest given the benefits of the

transaction, and (iii) is warranted in light of substantial grounds to challenge the

Decision below.

    A.      Defendants Would Be Irreparably Harmed Unless the Appeal Is
            Expedited

         Good cause exists because, absent expedition, the appeal is unlikely to be

decided before the outside closing date for the merger agreement, July 24, 2024.

Accordingly, unless this appeal is expedited, Defendants are likely to lose any right

to appellate review.3 The de facto loss of a right to appeal is itself recognized as a

form of irreparable harm. Cf. Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st

Cir. 1979) (finding irreparable harm where “right of appeal will become moot”


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       Appeals typically take longer than six months. U.S. Court of Appeals –
Judicial     Caseload       Profile      (as      of      Sept.    30,      2023),
https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_appprofile0930.2
023.pdf.
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unless a stay is granted); see also United States v. Anthem, Inc., 855 F.3d 345, 348

(D.C. Cir. 2017) (expediting and resolving appeal prior to contractual outside closing

date).    In addition, JetBlue and Spirit would lose out on the benefits of the

Transaction, including the opportunity for JetBlue to become a needed fifth national

competitor to the dominant Big Four airlines. See Hollinger Int’l, Inc. v. Black, 844

A.2d 1022, 1090 & n.160 (Del. Ch. 2004) (“Losses of strategic opportunities are

often found to pose a threat of irreparable injury” (citation omitted)); see also

Revlon, Inc. v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173 (Del. 1986)

(affirming finding of irreparable harm from loss of opportunity to bid on company).

   B.       The Public Interest Favors Expedition

         Expedition is also strongly in the public’s interest because the District Court’s

Decision, if allowed to stand, will deprive millions of airline consumers across the

country of the benefits of the proposed merger. The Transaction would allow

JetBlue’s high-quality product to become “more widely available to more

consumers.” Decision at 16. This would allow JetBlue to “immediately” increase

competition with the Big Four airlines, benefitting consumers whether they fly

JetBlue or not through lower prices and better service. Id. at 102–03. As the District

Court held, consumers stand to further benefit from JetBlue having increased

resources to innovate and create an “even stronger customer experience.” Id. at 17,

106.


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         In addition, the public interest favors appellate review of decisions

challenging mergers under the Clayton Act. Parties infrequently litigate merger

challenges to the Court of Appeals because of the nature of merger agreements,

which generally have a limited window to close due to the commercial realties of

mergers. To Defendants’ knowledge, the First Circuit has not opined on the

appropriate framework to analyze a transaction under Section 7 of the Clayton Act.

This case presents an opportunity for the First Circuit to provide guidance for future

transactions.

    C.      Defendants Have Substantial Grounds to Challenge the Decision

         Although Defendants intend to submit full briefing on the appeal, there are

also substantial grounds to challenge the Decision.           This further supports

Defendants’ request to expedite the appeal.4

         The Decision is fundamentally at odds with Section 7 of the Clayton Act,

which requires the Government to show a merger is likely to “substantially” lessen

competition in a specific “line of commerce” or antitrust market. 15 U.S.C. § 18.

Under the prevalent Baker Hughes framework for evaluating a merger challenge: “If

the defendant successfully rebuts the presumption [a merger violates Section 7], the


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      Although never expressly required by the First Circuit, the D.C. Circuit and
others evaluate whether the decision is subject to a substantial challenge when
granting expedited review. E.g., D.C. Cir. Handbook of Practice and Internal
Procedures (Mar. 16, 2021).

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burden of producing additional evidence of anticompetitive effect shifts to the

government, and merges with the ultimate burden of persuasion, which remains with

the government at all times.” United States v. Baker Hughes Inc., 908 F.2d 981, 983

(D.C. Cir. 1990).      The District Court held that Defendants defeated the

Government’s presumption through a “combination of the likely, timely entrants

into the harmed markets and the potential procompetitive benefits of the proposed

merger,” Decision at 103, but nevertheless reversed the burden of proof in the final

analysis by insisting that Defendants must “establish that the proposed merger would

not substantially lessen competition,” id. at 105.

      The District Court further erred when it required evidence that a subset of

other airlines could completely replace “Spirit’s capacity nationally” or “Spirit’s

capacity specifically on Spirit routes” and considered whether entry would “protect

every consumer, in every relevant market from harm.” Id. at 106. That reads Section

7’s requirement of a “substantial” lessening of competition out of the statute. See,

e.g., United States v. UnitedHealth Grp. Inc, 630 F. Supp. 3d 118, 129 (D.D.C. 2022)

(“By requiring that [defendants] prove that the [merger] would preserve exactly the

same level of competition that existed before the merger, the Government’s

proposed standard would effectively erase the word ‘substantially’ from Section

7.”). And not only is the District Court’s complete-replication-of-Spirit standard

inconsistent with the statute, but it made no sense based on the District Court’s own


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findings that the merger presents no competitive concern on hundreds of routes or

“markets” that Spirit flies.5

      Indeed, the District Court made no findings as to a substantial lessening of

competition in any particular “line of commerce”—or antitrust market—at all.

Instead, it generally announced a Section 7 violation as to “at least some of the

relevant markets,” id. at 105, while later suggesting there was a violation in “a

relevant market,” id. at 107, without identifying what that market is. As the Supreme

Court held, only an “examination of the particular market—its structure, history and

probable future—can provide the appropriate setting for judging the probable

anticompetitive effect of the merger.” United States v. Gen. Dynamics, 415 U.S.

486, 498–503 (1974). The District Court did not even attempt this comprehensive,

market-specific analysis, which requires a market-specific weighing of potential

harms and benefits from the merger.

      For these reasons and others, there are substantial grounds to disagree with

the Decision, further warranting expedited review.




5
       See, e.g., Decision at 48 (noting the 117 connecting routes are “unlikely to see
a substantial lessening of competition” due to the way pricing occurs on these routes
and low passenger volumes); id. at 73 n.48 (stating as to the 115 routes where only
Spirit, but not JetBlue, flies: “The Government cannot request a geographic market
of specific O&D pairs and then simultaneously request the inclusion of markets in
which Spirit only competes with non-party airlines.”).

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                                 CONCLUSION

      For the foregoing reasons, the Court should expedite this appeal, set the

briefing schedule set forth on page 3, and endeavor to calendar oral argument for the

May sitting so that a decision may be issued before July 24, 2024.

Dated: January 29, 2024                Respectfully submitted,

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                      CERTIFICATE OF COMPLAINCE

       Pursuant to Fed. R. App. P. 27(d) and 32(g), the undersigned hereby certifies

that this motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because, excluding the parts of the document exempted by Fed. R.

App. P. 32(f) and 27(d)(2) and any accompanying documents as authorized by Fed.

R. App. P. 27(a)(2)(B), the motion contains 2284 words.

       The motion has been prepared in proportionally spaced typeface using

Microsoft Word in 14-point Times New Roman font as provided by Fed. R. App. P.

32(a)(5)-(6). As authorized by Fed. R. App. P. 32(g), the undersigned has relied

upon the word count feature of the word processing system in preparing this

certificate.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 29, 2024, I electronically filed the foregoing

document with the United States Court of Appeals for the First Circuit by using the

CM/ECF system. In addition, I certify that the following counsel were served via

email and U.S. first-class mail, postage prepaid:

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